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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


RICH PENKOSKI, et al.,

             Plaintiffs,

v.                                       Civil Action No. 20-1519 (TNM)

MURIEL BOWSER,

             Defendant.


               DEFENDANT’S MEMORANDUM OF POINTS
           AND AUTHORITIES IN SUPPORT OF OPPOSITION TO
       PLAINTIFFS’ MOTIONS FOR PRELIMINARY AND PERMANENT
      INJUNCTION AND CROSS-MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

       Plaintiffs Rich Penkoski, Chris Sevier and Tex Christopher challenge defendant Mayor

Muriel Bowser’s (the District) decisions to paint a mural with the phrase “BLACK LIVES

MATTER” on a portion of 16th Street, N.W. in the District of Columbia and to symbolically name

portions of the street “Black Lives Matter Plaza.” Plaintiffs allege that the displays violate the

Establishment Clause of the First Amendment based on the theory that Black Lives Matter is a

religion, and that the displays convey the message that Black Lives Matter is the favored religion

of the District of Columbia and the Nation. They further allege that the displays violate the Equal

Protection Clause based on the theory that the displays are underinclusive and convey that Blacks

are the favored race. Both claims lack merit. Black Lives Matter is not a religion and no reasonable

observer aware of the context and history of the displays would determine that they are religious.

And even if Black Lives Matter were a religion, the displays do not violate the Establishment

Clause because they (1) convey a secular message (namely, that the District of Columbia is a safe

space for peaceful protesters); (2) do not advance or inhibit religion; and (3) do not foster excessive

entanglement between the District and any religious group. The displays also do not violate the

Equal Protection Clause because nothing about the displays’ mere presence in the District of

Columbia denies plaintiffs equal protection of the laws. Plaintiffs raise additional claims in their

motions for preliminary and permanent injunction—including viewpoint discrimination, violation

of the Free Exercise Clause and various local law claims—but these claims are not pled in the

Complaint and otherwise lack merit.

       As discussed below, plaintiffs are not entitled to a preliminary or permanent injunction.

They are unlikely to succeed on the merits of their claims because they lack standing to challenge

the displays and they cannot establish a constitutional violation under the Establishment Clause or
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the Equal Protection Clause. Plaintiffs also fail to identify any plausible injury as a result of the

displays, and thus are unable to establish that they would suffer irreparable harm absent injunctive

relief. On top of this, the balance of the equities and the public interest weigh against removing

the displays because it would undermine the message that the District of Columbia is a safe space

for peaceful protesters. The Court should therefore deny plaintiffs’ motions for injunctive relief.

         Plaintiffs’ claims not only fail to satisfy the standard for obtaining such relief, the claims

also fail as a matter of law. The material facts in this case are not in dispute and plaintiffs fail to

allege any basis or provide any evidence on which to prevail on the merits. As a result, the Court

should grant the District’s cross-motion for summary judgment.

                                          BACKGROUND

I.       The Federal Government’s Use of Force Against Peaceful Protesters

         On June 1, 2020, protesters descended upon the District of Columbia—and cities across

the Nation—to express their concerns about the deaths of George Floyd and other unarmed African

Americans during interactions with law enforcement. See, e.g., Dalton Bennett, et al., The

crackdown before Trump’s photo op: How law enforcement cleared protesters outside the White

House,          Wash.          Post.        (June         8,        2020),         available        at

https://www.washingtonpost.com/investigations/2020/06/08/timeline-trump-church-photo-op/. 1

         At approximately 6:30 p.m. that same evening, before the 7:00 p.m. curfew went into

effect, federal law enforcement officers cleared Lafayette Square so that President Trump could


1
        Although Mayor Bowser acknowledged that protesters were entitled to exercise their First
Amendment rights, she issued a curfew for 7:00 p.m. that evening because of potential public
safety concerns. See Mayor’s Order 2020-069 (June 1, 2020), available at
https://mayor.dc.gov/sites/default/files/dc/sites/mayormb/release_content/attachments/Mayor%2
7s%20Order%202020-069.pdf. The Mayor had lifted the District’s stay-at-home order several
days before. See Mayor’s Order 2020-067 (May 27, 2020).


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walk across 16th Street from the White House to St. John’s Episcopal Church for a photo

opportunity. Id. To accomplish this, the federal law enforcement officers deployed tear gas, rubber

bullets and flash canisters in an effort to move the peaceful protesters who were present on the

street. 2 Prior to walking across Lafayette Square, President Trump gave a statement in the Rose

Garden of the White House and expressed his intention to “dominate the streets” through use of

military force. Statement by the President, www.whitehouse.gov (June 1, 2020), available at

https://www.whitehouse.gov/briefings-statements/statement-by-the-president-39/.

II.    The Mayor’s Response to the Federal Government’s Use of Force

       Tensions remained high in the days after the events of June 1 and the community was on

edge. See Patricia Sullivan, et al., Protests heat up early Wednesday with pepper pellets and

fireworks    near    White     House,     Wash       Post.   (June   3,    2020),    available     at

https://www.washingtonpost.com/dc-md-va/2020/06/02/dc-protest-george-floyd-white-house. To

restore a sense of calm, and in light of President Trump’s intention to “dominate the streets,”

Mayor Bowser expressed a desire to honor the protesters from June 1 and send a message that

District streets are a safe space for peaceful protesters. Declaration of John Falcicchio (Falcicchio

Decl.), Ex. A ¶ 6. With those goals in mind, the Mayor directed District staff to erect two displays

on 16th Street at the site of the June 1 protests—a painted mural with the words “BLACK LIVES



2
        Representatives from both the U.S. Secret Service and the U.S. Park Police subsequently
admitted that their employees had engaged in these practices. See Ledyard King, Secret Service
admits it used pepper spray to clear protesters prior to Trump photo op at St. John’s Church, USA
Today               (June              13,              2020),             available            at
https://www.usatoday.com/story/news/politics/2020/06/13/floyd-protests-secret-service-used-
pepper-spray-trump-photo-op/3184223001/; Laura Egan, Secret Service now says it did use
pepper spray to clear protesters during the Trump church photo op, NBCNews (June 13, 2020),
available at https://www.nbcnews.com/politics/white-house/secret-service-now-says-it-did-use-
pepper-spray-clear-n1231022.

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MATTER” and street signs symbolically naming that section of the street “Black Lives Matter

Plaza.” Id. ¶ 7.

        The mural was commissioned by the D.C. Department of Public Works (DPW) and painted

by artists from MuralsDC, a program within DPW. Id. ¶ 8. MuralsDC has commissioned dozens

of murals throughout the District, on both public and private property, that are designed to reflect

the character of the community. See Our Mission, MuralsDC Project, available at

http://muralsdcproject.com/our-mission/. 3 On June 5, 2020, a group of eight artists from

MuralsDC and five apprentices met in the early morning to start painting the mural, which they

completed at approximately 11:30 a.m. that day. Falcicchio Decl. ¶ 8. Several dozen District

government employees and local residents joined to help complete the project. Id.

        At the direction of the Mayor, employees within the District Department of Transportation

(DDOT) made street signs bearing the symbolic name “Black Lives Matter Plaza.” Falcicchio

Decl. ¶ 9. Shortly after the mural was completed, DDOT staff placed the signs at each corner of

16th Street where it intersects with H Street, K Street and I Street. Id. To complete the symbolic

naming process, DDOT staff drafted legislation for the Council of the District of Columbia to

designate the area “Black Lives Matter Plaza.” Id. ¶ 10. The legislation was introduced on June 8,

2020 and enacted by the Council the next day. Id.; see PR 23-428, Coronavirus Support




3
       Examples include a mural at 2nd and D Streets N.W. next to the Creative Center for
Nonviolence entitled “Homeless Lives Matter,” Homeless Lives Matter, MuralsDC Project,
available at http://muralsdcproject.com/mural/homeless-lives-matter/, a mural bearing the words
“Language Access for all in DC” on MacFarland Middle School on 13th Street, N.W., Language
Access for All in DC, MuralsDC Project, available at http://muralsdcproject.com/mural/language-
access-for-all-in-dc/, and a mural depicting members of the armed forces on the outside of a liquor
store on Rhode Island Avenue, N.E. entitled “Support Our Troops,” Support Our Troops,
MuralsDC Project, available at http://muralsdcproject.com/mural/support-our-troops/.


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Clarification   Emergency     Declaration     Resolution       of   2020,   §   2(e),   available   at

https://lims.dccouncil.us/Legislation/PR23-0827. 4

III.   Procedural History

       In the Complaint, plaintiffs allege that the District’s displays violate the Establishment

Clause of the First Amendment and the Equal Protection Clause, and they seek declaratory and

injunctive relief, damages, costs and attorney’s fees. Compl. at 23-24, 26. Plaintiffs request that

the District remove the painted mural on 16th Street and replace it with three separate murals

stating “Blue Lives Matter,” “Green Lives matter,” and “All Lives Matter,” each for the same

duration and in the same scale and manner as the Black Lives Matter mural. Id. at 26-27. In

addition, plaintiffs request that the Black Lives Matter Plaza signs be removed and replaced with

signs bearing a secular name, or in the alternative that a comparable street be named “Jesus is the

answer Plaza,” and that the District remove all Black Lives Matter graffiti on public property, and

on private property if requested by the owner. Id. at 3, 27.

       On June 16, 2020, plaintiffs moved for a temporary restraining order (TRO) and

preliminary injunction (PI). The Court contacted the Parties the next day and set a hearing on the

TRO for June 18. After hearing oral arguments, the Court denied plaintiffs’ motion for a TRO. See

June 18, 2020 Minute Entry. In response to the Court’s order, plaintiffs stated that they intended




4
        This was not the first time the Council had enacted legislation to symbolically name a street
on an emergency basis. For example, on January 9, 2018, the Council passed an emergency
resolution to symbolically name a portion of Wisconsin Avenue, N.W. “Boris Nemtsov Plaza” in
time to commemorate the three-year anniversary of Russian politician Boris Nemtsov’s
assassination. PR 22-387, Boris Nemtsov Plaza Designation Emergency Declaration Resolution
of 2018, available at https://lims.dccouncil.us/Legislation/PR22-0700. Mr. Nemtsov had been an
advocate for democracy, and the emergency resolution stated, “[T]he designation is a symbol of
the District’s commitment to democracy and sends a message of solidarity to those fighting for
democratic principles around the world.” Id. § 2(b), (d).
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to file a new PI motion, and the Court ordered that the Parties’ briefing on plaintiffs’ new motion

be consolidated with the Parties’ briefing on the merits. Id.

        Between June 29, 2020 and June 30, 2020, plaintiffs submitted a variety of filings (some

of which were submitted after the Court’s deadline), including three motions for a preliminary and

permanent injunction. See Pls.’ Mem. in Supp. Mot. Prelim. and Permanent Inj. (Christopher PI)

[18]; Pls.’ Mem. in Supp. Mot. Prelim. and Permanent Inj. (Penkoski PI) [20]; and Pl.’s Mem. in

Supp. Mot. Prelim. and Permanent Inj. (Sevier PI) [22]. Plaintiffs’ motions raised claims not pled

in the Complaint, including viewpoint discrimination, violation of the Free Exercise Clause and

various statutory and regulatory claims under District law. Plaintiffs request that the District

“temporarily modify” the Black Lives Matter mural to say “ALL LIVES MATTER” in red, white

and blue paint and then permanently remove the painting. Sevier PI at 2. And they request that

16th Street “be renamed to ‘16th Street’ once again.” Id.

                                       LEGAL STANDARD

I.      Preliminary Injunction

        A preliminary injunction “is ‘an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.’” Sherley v. Sebelius, 644 F.3d 388, 393

(D.C. Cir. 2011) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)). “The

primary purpose of a preliminary injunction is to preserve the object of the controversy in its then

existing condition—to preserve the status quo.” Aamer v. Obama, 742 F.3d 1023, 1043 (D.C. Cir.

2014) (internal quotation marks omitted). “A plaintiff seeking a preliminary injunction must

establish that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the

absence of preliminary relief, that the balance of equities tips in his favor, and that an injunction

is in the public interest.” Winter, 555 U.S. at 20 (emphasis added). The latter two factors merge



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when the government is opposing an injunction. Nken v. Holder, 556 U.S. 418, 435 (2009). A

plaintiff seeking emergency injunctive relief bears the burden of proving all four prongs of the

standard before relief can be granted. Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1292

(D.C. Cir. 2009).

II.     Summary Judgment

        Under Fed. R. Civ. P. 56(a), a court should “grant summary judgment if the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” A party may move “for summary judgment at any time,” including at the beginning

of a case before discovery has commenced. Fed. R. Civ. P. 56(b); see also Parker v. Hoglander,

Civil Action No. 15-00926, 2016 WL 3527014, at *3-4 (D.D.C. June 23, 2016). The movant has

the initial burden of demonstrating the absence of a genuine dispute as to any material fact. Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986). If that burden is met, the nonmovant must “designate

specific facts showing that there is a genuine issue for trial.” Id. at 324 (internal quotation marks

omitted). Although the court must view the evidence in the light most favorable to the nonmovant

and draw all reasonable inferences in its favor, the “mere existence of a scintilla of evidence in

support of” the nonmovant is “insufficient” to stave off summary judgment. Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 252 (1986). The nonmovant must adduce “evidence on which the jury

could reasonably find for” it at trial. Id.




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                                           ARGUMENT

I.     Plaintiffs Are Not Entitled to a Preliminary Injunction.

       A.      Plaintiffs Are Not Likely to Succeed on the Merits Because They Fail to
               Establish a Violation of the Establishment Clause or the Equal Protection
               Clause, and the Remainder of Their Claims Are Not Properly Before This
               Court or Fail on the Merits.

       Demonstrating a likelihood of success on the merits is a free-standing requirement for a

preliminary injunction, Sherley, 644 F.3d at 393 (quotation omitted), and “a failure to show a

likelihood of success on the merits is alone sufficient to defeat a preliminary-injunction motion.”

Smith v. Henderson, 944 F. Supp. 2d 89, 96 (D.D.C. 2013). The Court need not conclude that

plaintiffs will lose on the merits, only that they have not met the extraordinary burden of showing

a clear entitlement to immediate, extraordinary relief. Sweis v. U.S. Foreign Claims Settlement

Comm’n, 950 F. Supp. 2d 44, 48 (D.D.C. 2013). They must show not merely that success is a

“possibility” but that it is “likely.” Winter, 555 U.S. at 20-22.

       Here, for the reasons below, plaintiffs have not met their burden because they have not

demonstrated that success on the merits is a possibility, let alone a likelihood.

               1.      Plaintiffs Lack Standing To Bring Their Claims.

                       a.      The Flast Exception to the Rule Against Taxpayer Standing
                               Does Not Apply to Municipal Taxpayers and Even If It Did
                               Plaintiffs Have Not Established that They Are Resident
                               Municipal Taxpayers.

       As a general rule, plaintiffs cannot assert that they have standing based merely on their

status as taxpayers because federal courts cannot adjudicate “generalized grievances” that are

common to all taxpayers. Valley Forge Christian College v. Americans United for Separation of

Church & State, 454 U.S. 464, 474-75 (1982) (citing Warth v. Seldin, 422 U.S. 490, 499-500

(1975)); see Lujan v. Defenders of Wildlife, 504 U.S. 555, 573-74 (1992) (“We have consistently



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held that a plaintiff raising only a generally available grievance about government—claiming only

harm to his and every citizen’s interest in proper application of the Constitution and laws, and

seeking relief that no more directly and tangibly benefits him than it does the public at large—does

not state an Article III case or controversy.”). Nevertheless, plaintiffs argue that they have standing

based on an exception to the rule against taxpayer standing recognized by the Supreme Court in

Flast v. Cohen, 392 U.S. 83 (1968). Although Flast did create a “narrow exception” to “the general

rule against taxpayer standing,” Bowen v. Kendrick, 487 U.S. 589, 618 (1988), that exception does

not apply here, and plaintiffs cannot rely upon it to establish that they have standing to pursue their

claims.

          In Flast, the Court held that “a taxpayer will be a proper party to allege the

unconstitutionality only of exercises of congressional power under the taxing and spending clause

of Art. I, s 8, of the Constitution.” Id. at 102 (emphasis added). Here, plaintiffs are not challenging

a congressional action under the Taxing and Spending Clause; they are challenging an executive

action by a municipal government. Therefore, the Flast exception does not apply. 5

          As the Supreme Court held in Hein v. Freedom from Religion Found., Inc., acts of

“executive discretion,” rather than legislative action, are not subject to the Flast exception. 551

U.S. 587, 605 (2007). In Hein, the Court considered whether to extend the Flast exception to

executive actions and expressly declined to do so. See id. at 609 (“Flast focused on congressional

action, and we must decline this invitation to extend its holding to encompass discretionary

Executive Branch expenditures.”). In declining to extend the Flast exception further, the plurality




5
        The case Bowen v. Kendrick, 487 U.S. 589 (1988) is not to the contrary. There, the Court
held that the Flast exception applied because there was “a sufficient nexus between the taxpayer’s
standing as a taxpayer and the congressional exercise of taxing and spending power.” Id. at 619
(emphasis added).
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in Hein noted, “It is significant that, in the four decades since its creation, the Flast exception has

largely been confined to its facts.” Id. The Flast exception simply does not apply to a case such as

this one, where plaintiffs challenge an executive action by the Mayor.

       Separately, even if the Flast exception were extended to municipal taxpayers, in addition

to federal taxpayers, plaintiffs still have not demonstrated that they have the requisite stake in the

outcome of the case to establish Article III standing. See Flast, 392 U.S. at 101 (holding that to

satisfy the Article III standing requirement a plaintiff asserting taxpayer standing still must have

“the requisite personal stake” in the case.). Significantly, the municipal taxpayer standing rule

articulated by the Court in Massachusetts v. Mellon is limited to “resident” municipal taxpayers.

262 U.S. 447, 486 (1923). Plaintiffs have not provided evidence that they are residents of the

District. Instead, they have merely asserted that they pay sales taxes in the District, just like

countless other nonresidents who visit the District each year.

       In support of their argument that paying sales taxes gives them standing, plaintiffs rely on

Texas Monthly, Inc. v. Bullock, 489 U.S. 1 (1989). There, the publisher of a nonreligious periodical

challenged a state law exempting religious periodicals from sales taxes. Id. at 6. Notably, the Court

did not address taxpayer standing in Bullock. Although the Court did address the plaintiff’s

standing, the Court’s standing analysis was limited to whether the plaintiff had suffered a

redressable injury. Id. at 7-8. 6 Bullock does not stand for the broad proposition that any plaintiff

who pays sales taxes has satisfied Article III’s requirement for taxpayer standing in all cases—that



6
         Indeed, as Justice Gorsuch subsequently noted, the Court in Bullock found that the plaintiff
in that case had standing based on their being “denied government benefits because they do not
practice a favored religion.” Am. Legion v. Am. Humanist Ass’n, 139 S. Ct. 2067, 2102-03 (2019)
(Gorsuch, J., concurring) (citing Bullock, 489 U.S. at 7-8). The plaintiff in Bullock never argued
that it had standing simply because it paid sales taxes, nor did the Court find that the plaintiff had
satisfied Article III’s standing requirement on that ground.

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issue was not before the Court. See Ariz. Christian Sch. Tuition Org. v. Winn, 563 U.S. 125, 144

(2011) (“When a potential jurisdictional defect is neither noted nor discussed in a federal decision,

the decision does not stand for the proposition that no defect existed.”); Hagans v. Lavine, 415

U.S. 528, 533 n.5 (1974) (“[W]hen questions of jurisdiction have been passed on in prior decisions

sub silentio, this Court has never considered itself bound when a subsequent case finally brings

the jurisdictional issue before us.”).

        What is more, the plaintiff in Bullock had a much greater stake in the outcome than any

individual subscriber who purchased a magazine. Here, on the other hand, plaintiffs are individuals

who pay sales taxes, not an entity that collects sales tax payments from thousands of different

individuals and then pays them to the government. Plaintiffs in this case therefore have a much

smaller stake in the outcome of this case than the plaintiff publisher did in Bullock.

        Indeed, plaintiffs’ interest in the District’s use of municipal funds is no different than that

of the “millions of others” who do not live in the District (and do not file taxes in the District as

resident taxpayers) but pay sales taxes whenever they visit the District and purchase goods or

services. Cf. Mellon, 262 U.S. at 486-87. 7 Their interest in the use of District funds is

“comparatively minute and indeterminable” compared to that of resident taxpayers who file taxes




7
        In Mellon, the Court concluded that resident municipal taxpayers have a stronger interest
in cases involving the expenditure of municipal funds than federal taxpayers in cases involving the
expenditure of federal government funds. The Court held that resident municipal taxpayer standing
was therefore appropriate under Article III because “[t]he interest of a taxpayer of a municipality
in the application of its moneys is direct and immediate and the remedy by injunction to prevent
their misuse is not inappropriate.” 262 U.S. at 486. On the other hand, “the relation of a taxpayer
of the United States to the federal government is very different” because “[h]is interest in the
moneys of the treasury … is shared with millions of others, is comparatively minute and
indeterminable, and the effect upon future taxation, of any payment out of the funds, so remote,
fluctuating and uncertain.” Id. at 487. Therefore, when a federal taxpayer sues the federal
government over its use of taxpayer funds “no basis is afforded for an appeal to the preventive
powers of a court of equity.” Id.
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with the District government each year as residents of the District. Id. at 487. Plaintiffs’ interest in

the present case, much like that of a federal taxpayer in a suit against the federal government is

“so remote, fluctuating and uncertain, that no basis is afforded for an appeal to the preventative

powers of a court of equity.” Id.

       As a fallback, plaintiffs argue that the Court should find that they have standing as

taxpayers based on legislation that they have introduced in other states. Penkoski PI at 17.

Congress has not enacted this legislation, nor has the taxpayer standing theory described in this

legislation been adopted by the Supreme Court or the D.C. Circuit. Plaintiffs cannot rely on this

unenacted legislation to overcome their lack of standing.

                       b.      Plaintiffs Cannot Establish that They Have Standing Based on
                               the Theory that the Displays Produce a “Chilling Effect” or
                               Allegations that They Have Been Harassed by Third Parties.

        Alternatively, plaintiffs argue that they have standing based on allegations that they walk

past the displays and that the displays have produced a “chilling effect” on their business activities.

Compl. ¶¶ 39-42, 44. They further argue that they have “a logical nexus to pursue this cause of

action” because they have been harassed by members of the Black Lives Matter organization. Id.

¶ 49. These allegations are insufficient to establish Article III standing.

        To satisfy Article III’s standing requirement, plaintiffs must have suffered an injury in fact

that is fairly traceable to the challenged conduct and likely to be redressed by a favorable decision.

Lujan, 504 U.S. at 560-61. 8 Plaintiffs cannot satisfy any of these elements here. For starters, they



8
        Establishment Clause cases are no different. As the Court acknowledged in Flast, “Federal
judicial power is limited to those disputes … capable of resolution through the judicial process.”
Flast, 392 U.S. at 97; see also Valley Forge, 454 U.S. at 472 (noting that plaintiffs must have
suffered an “actual injury redressable by the court” to satisfy Article III’s standing requirement);
id. at 473 (noting that federal courts are not “merely publicly funded forums for the ventilation of


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have not suffered an injury. The mere presence of the displays does not deny plaintiffs equal

protection of the laws—Article III standing is limited to “those persons who are personally denied

equal treatment by the challenged discriminatory conduct.” Allen v. Wright, 468 U.S. 737, 755

(1984) (internal quotation marks omitted); see Valley Forge, 454 U.S. at 485-86 (“[Plaintiffs] fail

to identify any personal injury suffered by them as a consequence of the alleged constitutional

error, other than the psychological consequence presumably produced by observation of conduct

with which one disagrees. That is not an injury sufficient to confer standing under Art. III, even

though the disagreement is phrased in constitutional terms.”). Plaintiffs may disagree with the

message conveyed by the displays, or even find them offensive, but “[t]he presence of a

disagreement, however sharp and acrimonious it may be, is insufficient itself to meet Art. III’s

[standing] requirements.” Diamond v. Charles, 476 U.S. 54, 62 (1986). Plaintiffs’ “‘offended

observer’ theory of standing has no basis in law.” Am. Legion, 139 S. Ct. at 2098 (Gorsuch, J.,

concurring).

       The fact that plaintiffs walk past the displays to conduct business activities does not amount

to an injury-in-fact under Article III. Although some courts have found that plaintiffs can satisfy

Article III’s injury-in-fact requirement solely based on “frequent contact” with purported religious

displays, see Newdow v. Bush, 355 F. Supp. 2d 265, 278 n.11 (D.D.C. 2005) (examining Suhre v.

Haywood Cty., 131 F.3d 1083 (4th Cir. 1997)), the Supreme Court never has, 9 and neither has the

D.C. Circuit. What the D.C. Circuit has held is that plaintiffs cannot “claim injury-in-fact from


public grievances” and that Article III “forecloses the conversion of courts of the United States
into judicial versions of college debating forums”).
9
        In fact, the Supreme Court held in Van Orden v. Perry that the State of Texas’s public
display of the Ten Commandments was permissible under the Establishment Clause when
plaintiffs merely alleged that they “walked by the monument for years.” 545 U.S. 677, 678 (2005)
(plurality).

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their being subjected to [a] ‘message’ of religious preference” that “makes them feel like second-

class citizens.” In re Navy Chaplaincy, 534 F.3d 756, 763 (D.C. Cir. 2008). That is exactly what

plaintiffs are alleging here. See Compl. ¶ 44 (stating that the displays “cultivate[ ] a chilling effect

that causes the Plaintiffs to actually feel like second class citizens.”). And unlike in other religious

display cases, the displays at issue here do not “communicat[e] a religious message through

religious words or symbols.” In re Navy Chaplaincy, 534 F.3d at 764. 10 Indeed, “[u]nder plaintiffs’

theory, every government action that allegedly violates the Establishment Clause could be re-

characterized as a governmental message promoting religion.” Id.

        Even if plaintiffs had suffered an injury, that injury would not be fairly traceable to the

District’s conduct. Plaintiffs allege that they have been harassed by members of the Black Lives

Matter organization who are not parties to this case, Compl. ¶ 49, but as the Court held in Lujan,

the causal connection between the alleged injury and the challenged conduct at issue in the case

cannot be “th[e] result [of] the independent action of some third party not before the court.” Lujan,

504 U.S. at 560. 11

        Moreover, like the plaintiffs in Lujan, plaintiffs have failed to show that it is likely that any

of their alleged injuries would be redressed by a favorable decision. Id. at 568-71. There is no


10
        Plaintiffs allege that like recognized religious organizations, Black Lives Matter “has its
own religious symbols such as a raised fist to symbolize its unproven religious values.” Compl. ¶
20; Penkoski PI at 10 (“Instead of having a cross, the ten commandments, or the star and crescent,
the Black Lives Matters cult has its own religious symbols such as a raised fist to symbolize its
unproven religious values.”). However, the displays plaintiffs are challenging do not include a
raised fist, or any other symbol analogous to “a cross, the ten commandments, or the star and
crescent,” nor have plaintiffs alleged that the displays include any religious words that “symbolize
[Black Lives Matter’s] unproven religious values.”
11
        Plaintiffs say that they have personally defined what should constitute a logical nexus for
Article III standing purposes in various draft legislation. Compl. ¶ 43; Penkoski PI at 17. But as
with their taxpayer standing argument, plaintiffs cannot unilaterally redefine what constitutes
Article III standing by referencing unenacted legislation that is not the law.

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indication that removing the displays would put an end to the alleged harassment by third parties.

               2.      Plaintiffs Are Unlikely to Succeed on Their Establishment Clause
                       Claim Because Black Lives Matter is Not a Religion.
                       a.      Black Lives Matter Is Not a Religion.

       Plaintiffs base their Establishment Clause claim on the faulty premise that Black Lives

Matter is a religion. 12 Specifically, plaintiffs contend that Black Lives Matter “is a denominational

sect that is inseparably linked to the religion of Secular Humanism.” Christopher PI at 2. As their

evidence in support, plaintiffs predominately rely on the “What We Believe” section of the Black

Lives Matter Global Network’s website and affidavits from so-called religious experts. See

Christopher PI at 5; Penkoski PI at 6.

       Plaintiffs fail to establish that Black Lives Matter is a religion. Although the D.C. Circuit

Court and Supreme Court have not clearly defined “religion” for purposes of the Establishment

Clause, courts have provided guidelines for the analysis that contradict plaintiffs’ arguments.

Plaintiffs contend that Black Lives Matter is a religion because “[i]t takes a huge amount of faith

to believe” in the “fundamental unproven truth claim[s]” associated with their moral views.

Penkoski PI at 6-7. But the D.C. Circuit has explicitly rejected that reasoning. In Crowley v.

Smithsonian Institution, the D.C. Circuit found that “[t]he fact that religions involve acceptance of

some tenets on faith without scientific proof obviously does not mean that all beliefs and all

theories which rest in whole or in part on faith are therefore elements of a religion as that term is

used in the [F]irst [A]mendment.” 636 F.2d 738, 742 (D.C. Cir. 1980).




12
        At various points in their briefs, plaintiffs use interchangeably phrases such as “Black Lives
Matter,” the “Black Lives Matter cult,” and the “Black Lives Matter Global Network” to refer to
the alleged “religion” at issue here. See generally Sevier PI, Christopher PI and Penkoski PI.
Although these are arguably different entities, the District analyzes them together and assumes that
plaintiffs refer generally to the Black Lives Matter movement and the individuals who support it.
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        Common belief in a particular philosophy or political stance—as is the case with the Black

Lives Matter movement—is also not sufficient to create a religion in the eyes of the Constitution.

See, e.g., United States v. Seeger, 380 U.S. 163, 165 (1965) (recognizing the difference between

religious beliefs and beliefs that are “essentially political, sociological, or philosophical”);

Wisconsin v. Yoder, 406 U.S. 205, 215-16 (1972) (same). Plaintiffs define religion as systems that

are “organized, full, and provide a comprehensive code by which individuals may guide their daily

activities,” but the case plaintiffs depend on for this proposition illustrates the flaws in plaintiffs’

reasoning. Penkoski PI at 8; see Real Alternatives, Inc. v. Burwell, 150 F. Supp. 3d 419, 440 (M.D.

Pa. 2015), aff’d sub nom., Real Alternatives, Inc. v. Sec’y Dep’t of Health & Human Servs., 867

F.3d 338 (3d Cir. 2017). In Real Alternatives, the court held that a pro-life organization was not a

religion even though it had a mission statement based on moral beliefs because “it does not provide

a comprehensive code to guide individuals in their day-to-day life challenges” and “[i]t does not

operate to fill the same position in one’s mind that religion can occupy.” Real Alternatives, Inc.,

150 F. Supp. 3d at 444. Rather, the court held that the organization was “[m]ore akin to a political

position with moral underpinnings than a coherent ideology.” Id. Such is the case here. Plaintiffs

similarly rely on the Black Lives Matter Global Network’s statements about their beliefs that—

even if they are moral positions—still lead to the conclusion that the organization is political, not

religious. See also Sevier v. Lowenthal, 302 F. Supp. 3d 312, 321 (D.D.C. 2018) (“If the mere

acceptance of homosexuality—or support for gay rights—constitutes a ‘religion’ for

Establishment Clause purposes, then the same conclusion would presumably follow for any value

judgment about how people should or should not live their lives.”).

        Other indicators courts have recognized in assessing whether an entity is a religion are also

not present here. For example, plaintiffs offer no evidence that Black Lives Matters supporters



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consider Black Lives Matter to be a religion. See U.S. v. Allen, 760 F.2d 447, 450 (1983) (refusing

“to recognize as a ‘religion’ what the religion’s alleged adherents have not identified as such”).

Plaintiffs provide no evidence that Black Lives Matter offers a comprehensive belief system.

Africa v. Pennsylvania, 662 F.2d 1025, 1032, 1035 (3d Cir. 1981) (religious “indicia” include

“address[ing] fundamental and ultimate questions having to do with deep and imponderable

matters;” creating a “comprehensive … belief[ ]system;” and having certain “[s]tructural

characteristics”). Black Lives Matter is also not generally regarded as a religion. Alvarado v. City

of San Jose, 94 F.3d 1223, 1227 (9th Cir. 1996) (noting that “Establishment [Clause] cases usually

… involve well-known religions”).

       Courts can also rely on common sense to determine whether an entity or movement is a

religion for Establishment Clause purposes. In fact, the Court similarly relied on common sense

two years ago in Sevier v. Lowenthal, when it dismissed plaintiff Sevier’s Establishment Clause

claim based on his theory that support for homosexuality is a religion and rainbow flags in the

halls of Congress were unconstitutional. 302 F. Supp. 3d at 322 (finding that “common sense …

forecloses Sevier’s claim” and that the “gay rights movement bears no trappings of ‘religion’ as

that concept is widely understood”). “Courts are well-equipped to weed out spurious Establishment

Clause ‘religions’ on grounds of common sense.” Id. at 320-21 (citing Altman v. Bedford Cent.

Sch. Dist., 245 F.3d 49, 79 (2d Cir. 2001) (holding that an “objective observer” would not consider

a public school’s celebration of Earth Day to be a religious endorsement); see Peloza v. Capistrano

Unified Sch. Dist., 37 F.3d 517, 520-21 (9th Cir. 1994) (rejecting “evolutionism” as a religion);

United States v. Allen, 760 F.2d 447, 449-51 (2d Cir. 1985) (rejecting “nuclearism” (the view that

nuclear weapons are “sacred objects”) as a religion)). Here, too, the Court should reject plaintiffs’

claim that Black Lives Matter is a religion.



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                       b.      Even if Plaintiffs Were Correct that Black Lives Matter Is a
                               Denomination of Secular Humanism, the Establishment Clause
                               Still Would Not Apply Because Secular Humanism Is Not a
                               Religion for Purposes of the Establishment Clause.

       Even if plaintiffs were correct that Black Lives Matter is a denomination of Secular

Humanism—for which they offer no evidence—their claim still fails because neither the Supreme

Court nor the D.C. Circuit recognizes Secular Humanism as a religion for purposes of the

Establishment Clause. To support their argument that Secular Humanism is a religion, plaintiffs

rely on dicta in Torcaso v. Watkins, 367 U.S. 488 (1961), where the Supreme Court references

Secular Humanism as a religion in a footnote. See Penkoski PI at 7. But the D.C. Circuit later

clarified that Torcaso referred only to “a particular group of humanists” and that “it is not clearly

established law that ‘humanism in general’ is a religion.” Kalka v. Hawk, 215 F.3d 90, 93 (D.C.

Cir. 2000). The D.C. Circuit remarked that “[i]nformation considered by the Religious Issues

Committee suggested that the American Humanism Association’s precepts were rooted in

philosophy not religion.” Id. Thus, plaintiffs’ argument that Black Lives Matter is a religion

because Secular Humanism is a religion for Establishment Clause purposes also fails.

                       c.      Based on History and Context, the Mural and Symbolic Street
                               Naming Could Not Be Reasonably Understood To Endorse a
                               Religion.

       Recent jurisprudence suggests that a historical and contextual approach, through the eyes

of a reasonable observer, should guide the assessment of whether a purported religious display

complies with the Establishment Clause. See Van Orden, 545 U.S. at 686 (plurality) (stating “our

analysis is driven both by the nature of the monument and by our Nation’s history”); id. at 700

(Breyer, J., concurring in the judgment) (stating that formal tests are no “substitute for the exercise

of legal judgment” that “take[s] account of context and consequences measured in light of th[e]

purposes” of the Establishment Clause).

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        To successfully allege an Establishment Clause claim, plaintiffs must show that a

reasonable observer would view the challenged government display as religious in character. See

Sevier, 302 F. Supp. 3d at 320 (citing Van Orden, 545 U.S. at 682-83). A reasonable observer is

“mindful of the history, purpose and context” of the challenged display. Van Orden, 545 U.S. 682-

83 (plurality) (finding that a reasonable observer would not believe that a passive Ten

Commandments monument conveyed the message that the State was seeking to endorse religion);

see McCreary Cty., Ky. v. Am. Civil Liberties Union of Ky., 545 U.S. 844, 869 (2005) (evaluating

whether a “reasonable observer could … think that the Counties meant to emphasize and celebrate

the [display’s] religious message”); Daniel Chapter One v. FTC, 405 F. App’x 505, 506 (D.C. Cir.

2010) (finding that an Establishment Clause claim is based on a “faulty premise” if the government

action is not religious in character).

        Here, any reasonable observer mindful of the Black Lives Matter protests and the events

of June 1, 2020 in Lafayette Square would understand that the displays were intended to show

support for the peaceful protesters in the District, not to endorse a religious message. Plaintiffs rely

on their own personal opinion and affidavits of so-called religious experts, see, e.g., Penkoski PI

at 6, but those opinions are not relevant to the Establishment Clause inquiry and plaintiffs offer no

evidence that such views reflect the thoughts of a reasonable observer. Cf. Weinbaum v. Las Cruces

Pub. Sch., 465 F. Supp. 2d 1116, 1144 (D.N.M. 2006) (noting that plaintiff “misstates the

reasonable observer standard” because “[t]he endorsement test does not look to whether ‘some’

Las Crucens believe that Defendants’ purpose in displaying the sculpture is to endorse

Christianity”) (emphasis in original).




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                       d.      Even if Black Lives Matter Were a Religion, the Displays
                               Would Still Not Violate the Establishment Clause Under the
                               Lemon Test.

       Even if plaintiffs could establish that Black Lives Matter were a religion and the Court

applied the Lemon test, the displays still would not violate the Establishment Clause. 13 “In order

to pass constitutional muster under the Lemon test, laws and government practices involving

religion must: (1) have a secular legislative purpose; (2) have a principal or primary effect that

neither advances nor inhibits religion; and (3) not result in excessive entanglement with religion

or religious institutions.” In re Navy Chaplaincy, 738 F.3d 425, 430 (D.C. Cir. 2013) (citing

Bonham v. D.C. Library Admin., 989 F.2d 1242, 1244 (D.C. Cir. 1993)). Here, plaintiffs fail to

establish that the displays violate any of the three prongs of the Lemon test and therefore plaintiffs

cannot show a violation of the Establishment Clause.

       First, the displays were erected for the secular purpose of providing calm in response to the

federal government’s use of force on peaceful protesters, and to show that the District is a safe

space for peaceful protest. Falcicchio Decl. ¶ 6. Plaintiffs’ argument regarding the first prong of

the Lemon test is implausible and contradictory on its face. Plaintiffs state that “[t]he challenged

displays lack a primary secular purpose because the Black Lives Matter displays do not signify the


13
        Although plaintiffs applied the Lemon test in support of their Establishment Clause claim,
the Supreme Court has largely abandoned the test, especially for the types of passive displays at
issue here. See Van Orden, 545 U.S. at 686 (“[W]e think [the Lemon test is] not useful in dealing
with the sort of passive monument that Texas has erected on its Capitol grounds[.]”). In American
Legion, the Supreme Court recently declined to apply the Lemon test when it found that a
longstanding, religious monument did not violate the Establishment Clause, and, as a result, many
Circuits have abandoned the Lemon test altogether—especially for cases involving religious
displays. Am. Legion, 139 S.Ct. at 2067; see, e.g., Kondrat’yev v. City of Pensacola, 949 F.3d
1319, 1322 (11th Cir. 2020); Perrier-Bilbo v. United States, 954 F.3d 413, 424-25 (1st Cir. 2020);
Fields v. Speaker of Pa. House of Representatives, 936 F.3d 142, 149 (3d Cir. 2019). Because the
D.C. Circuit has not ruled on an Establishment Clause case since American Legion, the status of
the Lemon test in this Circuit is uncertain.


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position that ‘black lives matter’” and a reasonable observer would see that the “challenged

displays mean that the favored religion of the city and of the Nation is the marxist implicitly

religious orthodoxy advocated by the devout BLM cult members as described in their liturgical

manifesto that is accessible to the public on their official website and elsewhere.” Penkoski PI at

19. Plaintiffs’ beliefs about the displays are manifestly unreasonable. The fact that plaintiffs’ own

view is that the displays lack a secular purpose does not render the displays constitutionally

impermissible because “[t]he eyes that look to purpose belong to an objective observer, one who

takes account of the traditional external signs that show up in the text, [history] and implementation

of … the official act.” McCreary Cty., Ky., 545 U.S. at 866 (internal quotation marks and citations

omitted).

       A reasonable observer would be aware of the context of nationwide protests and hostility

toward peaceful protesters, and would likely recognize that the text “Black Lives Matter” means

precisely that. Even if the displays were construed as an acknowledgment of religion,

“acknowledgments of religion serve … the legitimate secular purposes of solemnizing public

occasions, expressing confidence in the future, and encouraging the recognition of what is worthy

of appreciation in society.” Lynch v. Donnelly, 465 U.S. 668, 693 (1984) (O’Connor, J.,

concurring). The District erected the displays for purely secular purposes, 14 and the displays satisfy

the first prong of the Lemon test.


14
        As Chief Justice Rehnquist stated in his plurality opinion in Van Orden, “Simply having
religious content or promoting a message consistent with a religious doctrine does not run afoul of
the Establishment Clause.” 545 U.S. at 690. Furthermore, even if the secular purpose of erecting
the displays were not the only purpose, the displays still would not fail the first prong of the Lemon
test because the displays would not be “wholly motivated by religious considerations.” See Lynch
v. Donnelly, 465 U.S. 668, 680 (1984) (“The Court has invalidated legislation or governmental
action on the ground that a secular purpose was lacking, but only when it has concluded there was
no question that the statute or activity was motivated wholly by religious considerations.”); see
also id. (“Even where the benefits to religion were substantial … we saw a secular purpose and no


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       Second, the displays do not have the primary effect of advancing or inhibiting religion

because no reasonable observer would consider the displays an endorsement of a particular

religion. In re Navy Chaplaincy, 738 F.3d at 430 (finding that the reasonable observer in an

endorsement inquiry “must be deemed aware of the history and context underlying the challenged

program”) (citing Zelman v. Simmons–Harris, 536 U.S. 639, 655 (2002)). Plaintiffs argue that the

displays “select[] certain religious groups for preferential treatment” and, therefore, endorse a

particular religion. Penkoski PI at 24. But plaintiffs fail to demonstrate what religion is being

disfavored as a result of the Black Lives Matter displays or how a reasonable observer aware of

the context of the displays would come to that conclusion. Even if the Black Lives Matter mural

did contain religious imagery, “it is well-established that government sponsored artwork that

incorporates a religious symbol does not necessarily convey a message of endorsement or

disapproval.” Weinbaum, 465 F. Supp. 2d 1116 at 1148 (internal quotation marks omitted)

(collecting cases). Here, plaintiffs substitute their political grievances for the Lemon test’s

objective analysis in an effort to meet their burden on this prong. That is not enough to render the

displays impermissible. See Van Orden, 545 U.S. at 684 (“[T]his Court has not held that political

divisiveness alone can serve to invalidate otherwise permissible conduct.”). 15


conflict with the Establishment Clause.”); Wallace v. Jaffree, 472 U.S. 38, 56-57 (1985) (finding
that legislation lacked a secular purpose when “[t]he State did not present evidence of any secular
purpose”). Indeed, “[i]n certain contexts” a religious display “can convey not simply a religious
message but also a secular moral message,” which is constitutionally permissible. Van Orden, 545
U.S. at 699 (Breyer, J. concurring).
15
        In essence, plaintiffs would require the District to take a position of absolute neutrality with
respect to all positions taken by the Black Lives Matter organization. But absolute neutrality, even
among religious organizations, is not constitutionally required. Allen v. Morton, 495 F.2d 65, 76
n.19 (D.C. Cir. 1973) (Tamm, J.) (“Absolute neutrality is different from constitutional neutrality,
and thus statements that the Government is not ‘absolutely’ neutral- in that here it co-sponsors an
event with a Christian religious symbol while it does not co-sponsor one with a non-Christian or,
to the extent possible, a non-secular symbol- do not move me to automatically conclude that its


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        Third, the displays do not create excessive entanglement between government and religion.

Under the third prong of the Lemon test, only “excessive” entanglement runs afoul of the

Establishment Clause. Agnosti v. Felton, 521 U.S. 203, 233 (1997); see Larkin v. Grendel’s Den,

459 U.S. 116, 123 (1982). Here, plaintiffs cannot demonstrate that there is any entanglement

between government and religion, much less excessive entanglement, because the displays do not

create a relationship between government and a religious entity. Even if Black Lives Matter were

a religion, the displays do not create any ongoing relationship between the city and the Black Lives

Matter organization or movement. To assess whether there is excessive entanglement, the Supreme

Court has examined the “character and purpose of the institution that benefited, the nature of the

aid that the State provides, and the resulting relationship between the government and religious

authority.” Agnosti, 521 U.S. at 206 (collecting cases). The D.C. Circuit has found that there is no

excessive entanglement were the government neither “regulate[s] religious practices nor increases

… influence over management” of the religious institution. Mount Royal Joint Venture v.

Kempthorne, 477 F.3d 745, 758 (D.C. Cir. 2007); Cf. Larkin, 459 U.S. at 126-27 (finding excessive

entanglement between government and religion when churches were given authority to veto liquor

licenses, thus creating “a fusion of governmental and religious functions” and “enmesh[ing]

churches in the process of government”) (citation omitted). These considerations are inapplicable

here.

        Even assuming Black Lives Matter were a religion, the challenged displays create no

entanglement because there is no aid or influence flowing from the District to an organization

related to the movement as a result of the murals, nor is there any ongoing relationship as a result



action is constitutionally defective.”); see also Van Orden, 545 U.S. at 699 (Breyer, J., concurring)
(“[T]he Establishment Clause does not compel the government to purge from the public sphere all
that in any way partakes of the religious.”).
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of the displays. As plaintiffs note, Black Lives Matter DC did not support the Black Lives Matter

displays, making the entanglement that plaintiffs allege even less plausible. See Penkoski PI at 2.

Plaintiffs also argue that the use of taxpayer dollars to fund the display constitute excessive

entanglement, see Penkoski PI at 27, but the entanglement analysis is not concerned with city

expenditures unless they are benefiting a religious institution, which plaintiffs do not claim. As a

result, the challenged displays do not violate the third prong of the Lemon test.

               3.      Plaintiffs Are Unlikely to Succeed on Their Claim Under the Equal
                       Protection Clause Because the Challenged Displays Do Not Deny
                       Plaintiffs Equal Protection of the Laws Based on Their Race or
                       Religion.
       Plaintiffs allege that the District’s displays violate the Equal Protection Clause on the

theory that the displays are underinclusive and do not represent their own personal views, and that

the displays “convey that black people are the favored race” of the District of Columbia and the

Nation. Compl. ¶ 6. In their motions for preliminary and permanent injunction, plaintiffs add that

they believe the displays “symbolize” that they are not entitled to equal protection under the law

because they do not fit into the race or religion represented by the displays. Sevier PI at 36.

Plaintiffs’ claim under the Equal Protection Clause fails because nothing about the mere existence

of the displays denies plaintiffs equal protection of the laws.

       Under the Equal Protection Clause of the Fourteenth Amendment, a State cannot “deny to

any person within its jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1.

The Equal Protection Clause “requires States to treat similarly situated persons alike,” Women

Prisoners v. D.C. Dep’t of Corrs., 93 F.3d 910, 924 (D.C. Cir. 1996), and this requirement applies

to the District through the Fifth Amendment’s Due Process Clause. Id. To state a claim under the

Equal Protection Clause, “a plaintiff must assert facts that support the allegation that the




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government intentionally treated [him or her] differently from others who were similarly situated.”

BEG Invs., LLC v. Alberti, 85 F. Supp. 3d 13, 34 (D.D.C. 2015) (citation omitted).

       As an initial matter, plaintiffs allege that Mayor Bowser’s conduct—erecting the

displays—should be subject to strict scrutiny. Sevier PI at 9-10. Strict scrutiny applies when the

challenged practice “jeopardizes exercise of a fundamental right or categorizes on the basis of an

inherently suspect characteristic.” Banner v. United States, 428 F.3d 303, 307 (D.C. Cir. 2005)

(quoting Nordlinger v. Hahn, 505 U.S. 1, 10 (1992)). But plaintiffs do not identify a fundamental

right that the displays infringe upon, nor do they allege that the displays categorize them based on

a suspect characteristic; therefore, as discussed below, strict scrutiny does not apply.

       Plaintiffs ostensibly argue that the displays signal a “preference” for African Americans

that gives other people such as plaintiffs the “apprehension” that the government will not treat

them equally. Sevier PI Memo at 14. But unlike, for example, a veterans preference statute,

Personnel Administrator v. Feeney, 442 U.S. 256 (1979), a law prescribing different age

restrictions for purchasing alcohol based on gender, Craig v. Boren, 429 U.S. 190 (1976), or a law

requiring male spouses to pay alimony but not female spouses, Orr v. Orr, 440 U.S. 268 (1979),

nothing about the displays at issue here creates classifications between groups of individuals. In

other words, the displays are not a District law or policy that imposes different benefits or burdens

on individuals based on their membership in a specific class. See id. at 282-83 (holding that

classifications that “generate[ ] additional benefits” based on gender “cannot survive equal

protection scrutiny”). The displays do not allocate benefits or burdens based on race or religion—

so as to potentially deny plaintiffs equal protection under the law—simply by virtue of their mere

existence.




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        When the challenged government conduct does not disadvantage a suspect class or impinge

upon a fundamental right, the Equal Protection Clause “requires only that the classification

rationally further a legitimate state interest.”Banner, 428 F.3d at 307 (quoting Hahn, 505 U.S. at

10). This is also known as rational basis review. Under rational basis review, “[A] classification

must be upheld against equal protection challenge if there is any reasonable conceivable state of

facts that could provide a rational basis for the classification.” Dumaquin v. Sec’y of Health &

Human Serv., 28 F.3d 1218, 1222 (D.C. Cir. 1994) (quoting Heller v. Doe, 509 U.S. 312 (1993)).

Even if a classification were at issue here, the District’s actions easily satisfy that standard. By

erecting the displays, Mayor Bowser furthered two legitimate state interests: (1) restoring calm

after the death of George Floyd (and other unarmed African Americans in interactions with law

enforcement) and the federal government’s use of force against peaceful protesters; and (2)

affirming the humanity of African Americans.

        Although plaintiffs argue that the displays are underinclusive because they only address

the inherent humanity of one race, the District is permitted to address issues affecting different

classes of citizens “one step at a time.” Kaemmerling v. Lappin, 553 F.3d 669, 685 (D.C. Cir.

2008) (quoting Williamson v. Lee Optical of Okla., Inc., 348 U.S. 483, 489 (1955)). The fact that

the displays are “neglecting the others” does not render the displays constitutionally impermissible.

Id. (quoting Williamson, Inc., 348 U.S. at 489); cf. United States v. Holland, 810 F.2d 1215, 1219

(D.C. Cir. 1987) (“[E]qual protection of the laws does not require [the government] in every

instance to order evils hierarchically according to their magnitude and to legislate against the

greater before the lesser.”).




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       As a fallback, plaintiffs argue that the displays violate the Equal Protection Clause because

the Mayor’s stay-at-home order violates their rights under the Equal Protection Clause. 16 Sevier

PI at 14, 19. These allegations are defective in several respects. For starters, the stay-at-home order

is not part of the displays. Plaintiffs cannot rely on classifications in the stay-at-home order as a

basis for challenging the displays, which themselves make no classifications and impose no

benefits or burdens on citizens. Additionally, in the case plaintiffs rely on, Soos v. Cuomo, Civil

Action No. 20-00651, 2020 WL 3488742 (N.D.N.Y June 26, 2020), the court was addressing a

different stay-at-home order (New York’s), and the court expressly declined to consider whether

that stay-at-home order violated the Equal Protection Clause. Id. at *8 n.4. Even if Soos were

binding on this Court, it does not support plaintiffs’ theory that the District’s stay-at-home order—

a law that the court did not consider—violates the Constitution based on a theory that the court did

not address.

               4.      Plaintiffs Cannot Succeed on Claims That Are Not Alleged in the
                       Complaint, But Even If Properly Brought, Plaintiffs’ Newly Raised
                       Claims Are Unlikely to Succeed.
       Plaintiffs cannot add additional claims through their motion for injunctive relief; claims

are only properly raised in the complaint. See Fed. R. Civ. P. 8(a) (requiring “a short and plain

statement of the claim showing the pleader is entitled to relief”). In spite of this well-established


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        Plaintiffs appear to blend together arguments that the displays deny them equal protection
under the law based on their race and based on their religion. Plaintiff Sevier argues that the
displays are racially underinclusive and “causes reasonable observers of the races not included to
have the apprehension that the government will not treat them equally under the law.” Sevier PI at
13. But then, without reference to race, he states that “Defendants’ selective enforcement of the
stay-at-home order against Christians but not against BLM cult members reinforces that the
Plaintiffs’ apprehension is justified.” Id. at 14. He also argues that the Mayor’s stay-at-home order
has been selectively enforced against “theistic institutionalized houses of worship” but not against
“nontheistic noninstitutionalized houses of worship.” Id. at 19. Regardless of how plaintiffs’ Equal
Protection Clause theory is construed, the displays do not deny plaintiffs equal protection of the
laws based on race, religion or any combination of the two.

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rule, plaintiffs discuss several new claims for relief not alleged in their Complaint, including: (1)

viewpoint discrimination in violation of the First Amendment, see Sevier PI at 26-39; (2) a Free

Exercise Clause claim in violation of the First Amendment, see id. at 14-25; and (3) a variety of

District statutory and regulatory violations, see Christopher PI at 29-32. These claims are

improperly raised in plaintiffs’ motions for preliminary and permanent injunction and the Court

should not consider them. See Davis v. Mnuchin, Civil Action No. 18-00447, 2018 WL 8584035,

at *4 (D.D.C. Nov. 13, 2018) (finding that “any pre-trial additions or modifications to [the claims

in the complaint] must be made in a motion to amend pursuant to Rule 15(a)(2) of the Federal

Rules of Civil Procedure”); Franks v. Salazar, 816 F. Supp. 2d 49, 58 n.5 (D.D.C. 2011); Doe v.

Pompeo, Civil Action No. 20-00065, 2020 WL 1556251, at *17 (D.D.C. Apr. 1, 2020) (McFadden,

J.) (“[P]laintiffs cannot use their summary judgment briefing to press claims not raised in their ...

complaint.”). But—even if properly brought—the new claims lack merit and are unlikely to

succeed.

                       a.      Plaintiffs’ Viewpoint Discrimination Claim Is Unlikely to
                               Succeed Because the Displays Constitute Government Speech
                               Not Subject to First Amendment Scrutiny.

       Plaintiffs allege that the District violated the First Amendment by denying their request to

modify the Black Lives Matter mural to read “ALL LIVES MATTER,” but—even if plaintiffs’

facts were taken as true—such a denial would not run afoul of the First Amendment’s prohibition

of viewpoint discrimination in public forums. See Sevier PI at 39. Plaintiffs’ argument is simply

that if the District can paint “Black Lives Matter” on a public street, they should be permitted to

paint “ALL LIVES MATTER” on a public street. Id. at 28. But plaintiffs fail to consider the proper

viewpoint discrimination standard and well-established case law permitting the government to

express viewpoints; their claim therefore fails on the merits.



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       Plaintiffs make the conclusory assertion that the Black Lives Matter mural turned the

District’s streets into a “limited public forum” or a “nonpublic forum.” Sevier PI at 22. A “limited

public forum” is created “where the government has reserved a forum for certain groups or for the

discussion of certain topics” and a “nonpublic forum” is created “where the government is acting

as a proprietor, managing its internal operations.” See Walker v. Texas Div., Sons of Confederate

Veterans, Inc., 576 U.S. 200, 215-16 (2015) (internal citation and quotation marks omitted).

Private speech in such forums would enjoy First Amendment protections against viewpoint

discrimination. Id.

       But the Black Lives Matter display did not create a “limited” or “nonpublic” forum. A

limited public forum is created when the government “intentionally open[s] a nontraditional forum

for public discourse.” Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 802

(1985). To determine whether that is the case, courts examine the “policy and practice of the

government.” Id. Here, the District painted the mural itself, and it did not open the streets (a

nontraditional forum for painting murals) to the public to add their own painted messages. The

District also did not create a “nonpublic” forum because it did not “manag[e] government

property” where individuals could express their views; instead, it “engaged in expressive conduct”

by painting a mural conveying its choice of message. See Walker, 576 U.S. at 217.

       Rather than creating a forum for private speech, the Black Lives Matter mural is a clear

example of government speech, not subject to First Amendment scrutiny. See Pleasant Grove City,

Utah v. Summum, 555 U.S. 460, 467 (2009) (“The Free Speech Clause restricts government

regulation of private speech; it does not regulate government speech.”). Governments are

permitted to express viewpoints and doing so does not trigger the obligation to allow other

viewpoints to be similarly expressed; “[w]ere the Free Speech Clause interpreted otherwise,



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government would not work.” Walker, 576 U.S. at 207 (rhetorically asking “[h]ow could a city

government create a successful recycling program if officials, when writing householders asking

them to recycle cans and bottles, had to include in the letter a long plea from the local trash disposal

enterprise demanding the contrary?”).

       The Supreme Court has found displays to be government speech in situations analogous to

the one here, holding, for example, that a city’s monuments and a state’s license plates are

government speech. See, e.g., Walker, 576 U.S at 212-13 (holding that the messages on license

plates were considered government speech because license plates historically carry government

messages, the messages are aimed at the public and the state exercises control of the message);

Summum, 555 U.S. at 470-71 (holding that privately donated monuments displayed in a public

park were considered government speech because monuments traditionally carry messages of the

entity who owns the land on which they sit and the city controlled the selection of the monuments).

       Finally, courts should consider “historical context” and “observers’ reasonable

interpretation of the messages.” Walker, 576 U.S. at 217. Here, the District exercised control of

the message conveyed in the mural, and the District’s art on a city street is reasonably understood

to express the government’s viewpoint; namely, that the District was conveying its message of

support for peaceful protesters on its city streets. As a result, the Black Lives Matter mural is

government speech and plaintiffs’ viewpoint discrimination claim fails.

                       b.      Plaintiffs Cannot Succeed on Their Free Exercise Claim
                               Challenging the District’s Stay-At-Home Order Because the
                               Protection of Public Health and Safety Is a Compelling
                               Government Interest that Justifies the Burden Imposed by the
                               Stay-At-Home Order.

       Plaintiffs allege that Mayor Bowser’s Emergency Order (Mayor’s Order) prohibiting

outdoor gatherings of more than ten people violates the Free Exercise Clause of the First



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Amendment based on the theory that it treats “theistic institutionalized houses of worship,” like

Christianity, differently from “nontheistic noninstitutionalized houses of worship,” which they

claim describes Black Lives Matter. Penkoski PI at 20. Plaintiffs, however, cannot succeed on their

Free Exercise claim because it lacks merit.

        When examining whether laws violate the First Amendment by “prohibiting the free

exercise” of religion, courts consider whether the challenged law is both neutral and generally

applicable. Archdiocese of Washington v. Washington Metro. Area Transit Auth., 281 F. Supp. 3d

88, 112 (D.D.C. 2017) (citing Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.

520, 531-32 (1993)). If the challenged law is both neutral and generally applicable, it “need not be

justified by a compelling governmental interest even if the law has the incidental effect of

burdening a particular religious practice.” Adair v. England, 183 F. Supp. 2d 31, 53 (D.D.C. 2002).

But if the law is either not neutral or not generally applicable, courts must apply strict scrutiny,

upholding the law only if it is “justified by a compelling governmental interest” and is “narrowly

tailored to advance that interest.” Id.

        Here, the Mayor’s Order is neutral and generally applicable because it offers a broad cap

on gatherings for anyone, regardless of whether they belong to any particular class or have a

particular religious affiliation. See Mayor’s Order 2020-054 § II.4 (Mar. 30, 2020); Mayor’s Order

2020-067 § II.5. Moreover, the law “does not establish any preference for or against one religion

over another.” See, e.g., Archdiocese of Washington, 281 F. Supp. at 95. And it does not “in a

selective manner impose burdens only on conduct motivated by religious belief.” Id. at 113

(citing Lukumi Babalu, 508 U.S. at 543). Strict scrutiny, therefore, does not apply and the Mayor’s

Order overcomes a challenge if it advances a legitimate government interest. The Mayor’s Order

easily clears that low hurdle because prohibiting large gatherings advances the interest of keeping



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the public safe during the COVID-19 pandemic. Even if the Court were to examine the Mayor’s

Order in the context of this lawsuit and determine that the order was not neutral and generally

applicable, the Mayor’s Order would still withstand strict scrutiny analysis because limiting

gatherings to ten people or less is narrowly tailored to promoting the government’s interest in

protecting the public from COVID-19.

       Additionally, as noted above, plaintiffs’ reliance on Soos v. Cuomo, Civil Action No. 20-

00651, 2020 WL 348872 (N.D.N.Y. June 26, 2020), is misplaced. See Sevier PI at 15-16. Apart

from being a nonbinding, out-of-circuit district court case, the facts in New York are

distinguishable from those in the District. In Soos, the court granted preliminary injunctive relief

enjoining the city and state defendants from enforcing certain indoor and outdoor gathering

limitations because the law at issue there was not neutral and generally applicable—it contained

numerous provisions that treated religious entities differently from nonreligious entities. For

example, it included a provision capping the capacity of houses of worship at 25% while permitting

other non-essential business to operate at 50% capacity, id. at *1, and also contained an exemption

for outdoor graduation services of 150 people without providing one for religious organizations,

id. at *4. Finding the graduation exception especially troublesome, the court reasoned, “there is

nothing materially different about a graduation ceremony and a religious gathering such that

defendants’ justifications for a difference in treatment can be found compelling.” Id. at *12. The

court also found that the city and state’s selective enforcement of the gathering restrictions

problematic; state and city officials strictly enforced the provisions on outdoor gathering by

religious groups but failed to enforce the cap on protests. Id. at *5, *12.

       By comparison, the Mayor’s Order does not contain any of the exemptions or

restrictions the court found problematic in Soos. Mayor Bowser barred all non-essential indoor



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gatherings and placed a blanket cap of ten people for all outdoor gatherings, Mayor’s Order 2020-

054 § II.4 (Mar. 30, 2020); Mayor’s Order 2020-067 § II.5 (May 27, 2020). The District’s law does

not have any exemptions that apply for similarly situated non-essential activities

and not for houses of worship, like the graduation exemption in New York. Additionally, plaintiffs

cite no evidence that the District strictly enforced the ten-person limit on outdoor religious

gatherings while creating a de facto exemption for Black Lives Matter protests. Even if the District

had created a de facto exemption for Black Lives Matter protesters, one exemption does not

establish     a     violation      of    the      Free     Exercise      Clause,      even      if the

exemption involves religion. See Priests for Life v. United States Dep’t of Health & Human Servs.,

7 F. Supp. 3d 88, 105 (D.D.C. 2013) (“As several other courts considering the issue have found,

carving out an exemption for defined religious entities does not make a law nonneutral as to

others”) (internal quotation marks omitted), vacated on alternative grounds, Zubik v. Burwell, 136

S.Ct. 1557 (2016); Catholic Charities of Diocese of Albany v. Serio, 859 N.E.2d 459, 464 (N.Y.

2006) (“To hold that any religious exemption that is not all-inclusive renders a statute non-neutral

would be to discourage the enactment of any such exemptions—and thus to restrict rather than

promote, freedom of religion.”).

       Moreover, the Supreme Court recently denied a house of worship’s request for injunctive

relief against similar restrictions on religious gatherings imposed by the State of California. See S.

Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020). In his opinion

concurring with the Court’s denial of plaintiffs’ request for injunctive relief, Chief Justice Roberts

stated that the California law was “consistent with the Free Exercise Clause” because it treated

comparable secular gatherings, like concerts, similarly or more restrictively, and only dissimilar

activities more leniently. Id. The same is true of the restrictions at issue here, which are



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distinguishable from those in Soos. Unlike the law at issue in Soos, the Mayor’s Order does not

exceed the “broad limits” of the government’s ability to protect the general public from the

COVID-19 pandemic by placing restrictions on houses of worship. Id. at 1613-14. Thus, plaintiffs’

challenge under the Free Exercise Clause fails.

                       c.      Plaintiffs’ District Law Claims Are Unlikely to Succeed Because
                               There is No Private Right of Action and the District Statute and
                               Regulations Plaintiffs Cite Do Not Apply.

       Plaintiffs’ request that the Court “order the Mayor to take down the challenged displays for

violating multiple city ordinances” is deeply flawed. Penkoski PI at 11. Plaintiffs allege that the

District violated local statutes and regulations by (1) prohibiting an individual from pouring an

“oily substance or liquid” on any street, see 24 D.C.M.R. § 1006; (2) permitting the “install[ation]

of public art in the public space between the sidewalk and property, see 24 D.C.M.R. § 1108.10;

and (3) designating the naming convention for District Streets, see D.C. Code § 9-204.02.

Christopher PI at 31. But plaintiffs misinterpret or misapply these provisions to reach the

conclusion that the challenged displays violate local laws, and—regardless of the claims’ merits—

plaintiffs are not entitled to seek a remedy on this basis.

       First, plaintiffs’ claim that the District is not permitted to paint its own streets, Christopher

PI at 30, is plainly incorrect. Plaintiffs contend that the paint used for the Black Lives Matter mural

is a prohibited “oily substance or liquid” on the road, but this is not a valid claim for relief. There

is no private right of action to bring a claim under this statute, and it is—again, on yet another

ground—improperly before the Court. 24 D.C.M.R. § 100.6 (noting that violations of this

provision “shall, upon conviction, be punished by a fine of not more than three hundred dollars”)

And plaintiffs’ interpretation of this provision is not sensible. A city must be allowed to paint its

own streets for basic road maintenance and traffic control purposes. See, e.g., 18 D.C.M.R. § 2102


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(prohibiting markings, signs and traffic control devices on city streets without the permission of

the Department of Public Works). The Department of Public Works is in charge of the MuralsDC

program that coordinated painting the Black Lives Matter mural, as it is authorized to do. See D.C.

Code § 1-325.101 (establishing and the Department of Public Works mural program).

        Second, plaintiffs contend that the mural should be removed because public art is only

allowed “between the sidewalk and the property line,” Christopher PI at 30, but this argument is

based on a misinterpretation of a local regulation. The regulation plaintiffs cite states that

“[s]ubject to approval by the Public Space Committee and with the recommendation of the

Committee, an applicant may install public art in the public space between the sidewalk and the

property line.” Id.; see 24 D.C.M.R. § 1108.10. A plain reading of the regulation shows that its

application only extends to questions of whether certain public art is permitted in an area which

does not include the city streets (where the Black Lives Matter mural is painted), and the statute

does not prohibit public art in locations not addressed in this section. See Arlington Cent. Sch.

Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006) (“When the statutory language is plain,

the sole function of the courts—at least where the disposition required by the text is not absurd—

is to enforce it according to its terms.”). Moreover, this section of the District’s municipal

regulations merely provides the standards and guidance for the issuance of permits related to public

spaces in the Downtown Streetscape Area; it does not provide a remedy for an individual seeking

relief for a purported violation of the provisions. See generally 24 D.C.M.R. § 1101, et seq.

        Third, plaintiffs contend that the District’s system of naming streets precludes the renaming

of a portion of 16th Street N.W. “Black Lives Matter Plaza,” Christopher PI at 30, but this

argument rests on a faulty premise. The renaming of Black Lives Matter is a symbolic renaming

of the street, not an official name. The statute plaintiffs cite restricts the official names of the streets



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to a naming convention requiring, among other things, that “streets running north and south be

designated with numbers.” D.C. Code § 9-204.02. The official name of the street is still 16th Street.

District law permits the Council to “designate a symbolic name for any alley or street, or portion

thereof, or other public space.” D.C. Code § 9-204.03a. That is precisely what the Council did

when it designated a portion of 16th Street N.W. “Black Lives Matter Plaza” after Mayor Bowser

submitted a resolution proposing the change. see PR 23-428, Coronavirus Support Clarification

Emergency        Declaration      Resolution      of     2020,      §      2(e),     available     at

https://lims.dccouncil.us/Legislation/PR23-0827; D.C. Code § 9-204.01 (“The Mayor may submit

a resolution to the Council proposing a designation, change of name, or commemorative work for

the Council’s approval.”). The symbolic designation therefore complies with District law and, even

if it did not, nothing in the statute cited by plaintiffs provides a remedy or private right of action

for them to seek relief.

       B.      Plaintiffs Will Not Suffer Irreparable Harm Absent Relief Because They Have
               Not Suffered an Injury.
       “[T]he deprivation of constitutional rights constitutes irreparable injury only to the extent

such deprivation is shown to be likely.” Archdiocese of Wash. v. WMATA, 897 F.3d 314, 334 (D.C.

Cir. 2018). Cf. Proctor v. District of Columbia, 310 F.Supp.3d 107, 116 (D.D.C. 2018)

(McFadden, J.) (“But the Plaintiffs have not established that such losses are imminent and certain

without preliminary relief.”). Plaintiffs here have not shown that any injury is likely to occur as a

result of the challenged displays, and cannot show irreparable harm.

       Plaintiffs rely predominately on a decades-old Supreme Court three-Justice plurality

opinion in Elrod v. Burns, 427 U.S. 347 (1976), to support their stance that irreparable harm

“should be presumed,” but plaintiffs misinterpret Elrod and fail to take into account more recent

and controlling precedent. Christopher PI at 39. As plaintiffs note, the Elrod plurality found that a


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“loss of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury,” but it did not hold that irreparable harm should be found per se based solely

on the allegation of a First Amendment violation. 17 Id.; Elrod, 427 U.S. at 373 (plurality). In other

words, even under Elrod, plaintiffs still have to demonstrate that some immediate harm would

occur to satisfy the irreparable harm prong.

       Plaintiffs cannot demonstrate irreparable harm on the basis of allegations alone. In Winter,

the Supreme Court rejected the Ninth Circuit’s standard that the “possibility” of irreparable harm

was sufficient to satisfy the plaintiffs’ burden of showing that irreparable harm would occur absent

a preliminary injunction as “too lenient” and held that “plaintiffs seeking preliminary relief [must]

demonstrate that irreparable injury is likely in the absence of an injunction.” Winter, 555 U.S. at

21-22 (emphasis added).

       Here, plaintiffs fail to identify any harm that results from the existence of the challenged

displays or the absence of their requested relief, let alone a harm that is likely to occur. Plaintiffs

cite a host of hyperbolized maladies that would result from the denial of their requested relief,

from “fear of threatened arrest, prosecution and fines,” Sevier PI at 25, to “social marginalization

and the violent oppression of non-observers,” Christopher PI at 41. But plaintiffs offer no evidence

that these harms are likely to occur absent injunctive relief. Instead, they rely purely on



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        The D.C. Circuit later found such a per se rule existed for irreparable harm in Establishment
Clause cases, but the holding has since been abrogated by the Supreme Court’s decision in Winter
that requires courts to find irreparable harm is likely absent an injunction. See Comp. Chaplaincy
of Full Gospel Churches v. England, 454 F.3d 290, 304 (D.C. Cir. 2006) (“[H]old[ing] that a party
alleging a violation of the Establishment Clause per se satisfies the irreparable injury requirement
of the preliminary injunction calculus[.]”); but see Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
7, 21-22 (2008) (requiring that plaintiffs “demonstrate that irreparable injury is likely in the
absence of an injunction”); Seeger v. United States Dep’t of Def., 306 F. Supp. 3d 265, 278-79
(D.D.C. 2018) (finding that “Chaplaincy of Full Gospel Churches v. England is abrogated to the
extent it adopted a lesser injury threshold than Winter” and noting that “Winter emphasizes that
the basis for injunctive relief must be demonstrated irreparable harm”).
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unsupported and speculative allegations throughout their motions and in the many affidavits they

filed bearing little if any relevance to this case. See generally Christopher PI; Penkoski PI; Sevier

PI. Courts have denied claims for emergency relief where a party fails to “provide[] [ ] evidentiary

support or even specific factual allegations that would support [its] assertions.” Brodie v. U.S.

Dep’t Health and Human Servs., 715 F. Supp. 2d 74, 85 (D.D.C. 2010); see also Reinhard v.

Johnson, 209 F. Supp. 3d 207, 220 (D.D.C. 2016) (finding that “claim is speculative and not

supported by any facts”); Ctr. for Auto Safety v. Dole, 582 F. Supp. 1444, 1450 (D.D.C. 1984)

(plaintiff “should have brought forward concrete facts to support its claim of irreparable injury if

such existed, yet it has not done so”). As a result, plaintiffs fail to meet their burden of

demonstrating irreparable harm.

       C.      The Balance of the Equities and the Public Interest Weigh Against Removing
               the Displays.

       Even if a movant demonstrates a likelihood of success and irreparable injury, the court still

“must balance the competing claims of injury and must consider the effect on each party of the

granting or withholding of the requested relief.” Amoco Prod. Co. v. Gambell, 480 U.S. 531, 542

(1987). The last two factors “merge when the Government is the opposing party.” Nken, 556 U.S.

at 435. “Equitable relief is not granted as a matter of course, and a court should be particularly

cautious when contemplating relief that implicates public interests.” Salazar v. Buono, 559 U.S.

700, 714 (2010).

       Indeed, plaintiffs’ request for far-reaching relief would run roughshod over the District’s

broad authority to maintain its public spaces and welcome peaceful protesters, and would instead

injure the District. See Maryland v. King, 133 S. Ct. 1, 3 (2012) (Roberts, C.J.) (finding that when

“a State [or local government] is enjoined by a court from effectuating statutes enacted by the

representatives of its people, it suffers a form of irreparable injury”) (internal quotations omitted);

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City of Los Angeles v. Lyons, 461 U.S. 95, 112, (1983) (“In exercising their equitable powers

federal courts must recognize ‘[the] special delicacy of the adjustment to be preserved between

federal equitable power and State administration of its own law.’”) (quoting Stefanelli v. Minard,

342 U.S. 117, 120 (1951)). As relief for the constitutional and local violations they allege, plaintiffs

request that the Court order the District to “temporarily modify” the Black Lives Matter mural to

say “ALL LIVES MATTER” in red, white and blue paint and then permanently remove the

painting. Sevier PI at 2. Plaintiffs further request that 16th Street “be renamed to ‘16th Street’ once

again.” Id.

        Here, the District and the public share a compelling interest in maintaining the displays

that honor peaceful protestors and recognize the humanity of African Americans in a time of crisis.

Falcicchio Decl. ¶ 6. And as the Supreme Court recognized in American Legion, the removal of

monuments—even ones that are religious in nature—is not necessarily a “neutral act,” and it could

be seen as “profoundly disrespectful.” 139 S. Ct. at 2086. Such is the case here. Removing the

mural or replacing it with the politically-fraught “All Lives Matter” phrase would be

counterproductive and contradict the messages of calm and respect that the District sought to

convey to the public. This would be detrimental to the public interest.

        Moreover, plaintiffs’ requested relief would be especially burdensome for the District

because it is overbroad and not sufficiently tailored to remedy the alleged harm. Plaintiffs

explicitly state that the goal of their requested relief is to “deter and punish” Mayor Bowser for the

displays, and they even characterize removing the displays as being a “slap … on the wrist.” Sevier

PI at 34. The D.C. Circuit has “long held that ‘[a]n injunction must be narrowly tailored to remedy

the specific harm shown.’” Nebraska Dep’t of Health & Human Servs. v. Dep’t of Health & Human

Servs., 435 F.3d 326, 330 (D.C. Cir. 2006) (quoting Aviation Consumer Action Project v.



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Washburn, 535 F.2d 101, 108 (D.C. Cir. 1976)); see also District of Columbia v. U.S. Dep’t of

Agric., Civil Action No. 20-00119, 2020 WL 1236657, at *12 (D.D.C. March 13, 2020) (observing

that “injunctive relief should be no more burdensome to the defendant than necessary to provide

complete relief to the plaintiffs” (quoting Califano v. Yamasaki, 442 U.S. 682, 702 (1979))). Here,

plaintiffs’ requests are inappropriate and unduly burdensome. The painting of a new mural that

reflects a message many find offensive, for the sole purpose of “punish[ing]” the District, is

unwarranted and disproportionate to the alleged harm.

II.    The District Is Entitled to Judgment As a Matter of Law on All Claims.

       For the reasons discussed above, plaintiffs’ claims are meritless and they are not entitled

to any relief. Plaintiffs’ claims not only fail to satisfy the standard for obtaining an injunction, the

claims fail as a matter of law. The material facts in this case are not in dispute, and plaintiffs fail

to establish any reasonable basis on which judgment could be granted in their favor. 18 See Fed. R.

Civ. P. 56(a). Even if the Court views the evidence in the light most favorable to plaintiffs and

draws all reasonable inferences in their favor, plaintiffs have failed to demonstrate any basis for

relief. See Anderson, 477 U.S. at 252 (a “mere existence of a scintilla of evidence in support of”

the nonmovant is “insufficient” to stave off summary judgment.).

       Although plaintiffs submitted hundreds of pages of arguments and exhibits in support of

their Establishment Clause claim, they failed to offer any plausible evidence that a reasonable

person would determine that Black Lives Matter is a religion or that the challenged displays are

“reasonably understood to be religious in character.” Sevier, 302 F. Supp. 3d at 320 (dismissing

plaintiff’s Establishment Clause claim) (citation omitted); see Van Orden, 545 U.S. 682-83 (a




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       During the June 18, 2020 TRO hearing, the Parties agreed that the case could be decided
on the merits without discovery.
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reasonable observer is “mindful of the history, purpose and context” of the challenged display);

Section I.A.2 above. Instead, in support of their claims, plaintiffs rely on their personal opinions

and those of so-called religious experts, none of which are relevant or sufficient for a reasonable

juror to find a violation of the Establishment Clause.

       Similarly, plaintiffs base their Equal Protection Clause claim on the theory that the displays

are underinclusive, do not represent their own personal views, and “convey that black people are

the favored race” of the District, but fail to provide evidence of a constitutional violation. See

Section I.A.3 above. Plaintiffs fail to identify any benefit or burden based on race or religion that

arises from the displays, and plaintiffs’ claim under the Equal Protection Clause fails because the

mere existence of the displays cannot deny plaintiffs equal protection of the laws. See BEG Invs.,

LLC, 85 F. Supp. 3d at 34 (finding that to state a claim under the Equal Protection Clause, “a

plaintiff must assert facts that support the allegation that the government intentionally treated [him

or her] differently from others who were similarly situated”) (citation omitted).

       Because plaintiffs would bear the burden of proof on a dispositive issue at trial, they bear

the burden of production at this stage to show that there exists a genuine dispute requiring trial.

Faison v. Vance-Cooks, 896 F. Supp. 2d 37, 49 (D.D.C. 2012) (citing Ricci v. DeStefano, 557 U.S.

557, 129 (2009)). “Otherwise, [plaintiffs] could effectively defeat the ‘central purpose’ of the

summary judgment device—namely, ‘to weed out those cases insufficiently meritorious to warrant

… trial’—simply by way of offering conclusory allegations, speculation, and argument.” Id.

(citing Greene v. Dalton, 164 F.3d 671, 675 (D.C. Cir. 1999)). Plaintiffs have failed to meet their

burden, and the District is entitled to judgment as a matter of law on all claims in the Complaint.




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                                       CONCLUSION

       For the foregoing reasons, the Court should deny plaintiffs’ Motions for a Preliminary and

Permanent Injunction and grant defendant’s Cross-Motion for Summary Judgment.


Dated: July 13, 2020.               Respectfully submitted,

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